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     Sacramento, CA 95814
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5
     Attorney for Defendant
6    FERLANDO CARTER
7
                              IN THE UNITED STATES DISTRICT COURT
8
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,                  )   Case No. 2:13-CR-00267 TLN
                                                )
11   Plaintiff,                                 )   STIPULATION AND ORDER TO
                                                )   CONTINUE STATUS CONFERENCE, AND TO
12   vs.                                        )   EXCLUDE TIME
                                                )
13   FERLANDO CARTER                            )   Date: February 12, 2015
     LUIS BUSTAMANTE,                           )   Time: 9:30 a.m.
14                                              )   Judge: Hon. Troy L. Nunley
     Defendants.                                )
15                                              )
16          IT IS HEREBY STIPULATED by and between Benjamin Wagner, U.S. Attorney,
17   through, Assistant United States Attorney Justin Lee, attorney for Plaintiff, Heather Williams,
18   Federal Defender, through Assistant Federal Defender Douglas Beevers, attorney for Ferlando
19   Carter, and Jason Lawley, attorney for Luis Bustamante, that the status conference scheduled for
20   December 18, 2014 be vacated and be continued to February 12, 2015 at 9:30 a.m.
21          The grounds for this continuance are that Defense counsel has provided expert discovery
22   to the Government and the Government needs reasonable time to prepare.
23          Based upon the foregoing, the parties agree time under the Speedy Trial Act should be
24   excluded of this order’s date through and including February 12, 2015; pursuant to 18 U.S.C.
25   §3161 (h)(7)(A)and (B)(iv)[reasonable time to prepare] and General Order 479, Local Code T4
26   based upon continuity of counsel and defense preparation.
27
28

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1    DATED: December 16, 2014                      Respectfully submitted,
                                                   HEATHER E. WILLIAMS
2                                                  Federal Defender
3
                                                   /s/ Douglas Beevers
4                                                  DOUGLAS J. BEEVERS
                                                   Assistant Federal Defender
5                                                  Attorney for Ferlando Carter
6    DATED: December 16, 2014                      /s/ Douglas Beevers for
7                                                  JASON LAWLEY
                                                   Attorney for Luis Bustamante
8
     DATED: December 16, 2014                      BENJAMIN B. WAGNER
9                                                  United States Attorney
10
                                                   /s/ Douglas Beevers for
11                                                 JUSTIN LEE
                                                   Assistant U.S. Attorney
12                                                 Attorney for Plaintiff
13
14                                                ORDER

15          IT IS HEREBY ORDERED, the Court, having received, read, and considered the parties’

16   stipulation, and good cause appearing therefrom, adopts the parties’ stipulation in its entirety as

17   its order. The Court specifically finds the failure to grant a continuance in this case would deny

18   counsel reasonable time necessary for effective preparation, taking into account the exercise of

19   due diligence. The Court finds the ends of justice are served by granting the requested

20   continuance and outweigh the best interests of the public and defendant in a speedy trial.

21          The Court orders the time from the date the parties stipulated, up to and including

22   February 12, 2015, shall be excluded from computation of time within which the trial of this case

23   must be commenced under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(A)

24   and(B)(iv) [reasonable time for counsel to prepare] and General Order 479, (Local Code T4). It

25   is further ordered the December 18, 2014 status conference shall be continued until February

26   12, 2015, at 9:30 a.m.

27   Dated: December 16, 2014

28                                                               Troy L. Nunley
                                                                 United States District Judge
                                                      -2-
